Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 1 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 2 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 3 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 4 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 5 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 6 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 7 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 8 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document      Page 9 of 29
Case 18-22422-MBK   Doc 15    Filed 07/20/18 Entered 07/20/18 06:15:17   Desc Main
                             Document     Page 10 of 29
              Case 18-22422-MBK                         Doc 15        Filed 07/20/18 Entered 07/20/18 06:15:17                                         Desc Main
                                                                     Document     Page 11 of 29
Fill in this information to identify your case:

 Debtor 1          Henry                   Robert                Melzi
                   __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: District of New
                                         __________      Jersey
                                                       District of __________

 Case number         18-22422
                     ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔ Yes. Fill in all of the information below.
      

Part 1:        List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                                                                                             170,000.00 $________________
                                                                                                                                               150,000.00 $____________
                                                                                                                                                             20,000.00
       NationStar Mortgage, LLC
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       8950 Cypress Waters Blvd.
      ______________________________________
                                                           158 Ellis St., Haddonfield
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
       Dallas, TX 75063t
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                                                       3 ___
                                                           Last 4 digits of account number ___ 2 ___ ___
2.2                                                                                                                              74,000.00 $________________
                                                                                                                                               147,000.00 $____________
       South State Bank
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       1 Corporate Drive
      ______________________________________
                                                           45 Carolina Shores Dr., Carolina Shores,
      Number            Street                             NC
       Ste. 360                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
       Lake Zurich, IL             60047
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                                                       3 ___, ___
                                                           Last 4 digits of account number ___       7 ___1
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    244,000.00
                                                                                                                           $________________


Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                             1
                                                                                                                                                               page 1 of ___
             Case 18-22422-MBK                       Doc 15        Filed 07/20/18 Entered 07/20/18 06:15:17                                       Desc Main
                 Henry                 Robert                     Document
                                                                       Melzi   Page 12 of 29        18-22422
 Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                  First Name     Middle Name          Last Name




              Additional Page                                                                                         Column A               Column B              Column C
 Part 1:                                                                                                              Amount of claim        Value of collateral   Unsecured
              After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                      Do not deduct the
              by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
2.3 1st Federal of Charleston                         Describe the property that secures the claim:                         81,500.00
                                                                                                                      $_________________     $________________ $____________
    ______________________________________
    Creditor’s Name
     PO Box 118068
    ______________________________________            transferred to another lender
    Number            Street

    ______________________________________            As of the date you file, the claim is: Check all that apply.
     Charleston            SC 29423 
    ______________________________________                 Contingent
    City                   State ZIP Code                 Unliquidated
                                                          Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                      ✔
                                                      
                                                      ■                                         mortgage
                                                           Other (including a right to offset) ____________________
      Check if this claim relates to a
       community debt
                         05/10/0201
  Date debt was incurred ____________                                                  3 ___
                                                      Last 4 digits of account number ___ 3 ___ ___

2.4 RBS Citizens NA                                   Describe the property that secures the claim:                         21,400.00 $________________ $____________
                                                                                                                      $_________________
    ______________________________________
    Creditor’s Name
     480 Jefferson Blvd.
    ______________________________________            auto (paid/closed)
    Number            Street

                                                      As of the date you file, the claim is: Check all that apply.
    ______________________________________
                                                          Contingent
     Warwick               RI 02866
    ______________________________________                Unliquidated
    City                         State    ZIP Code
                                                          Disputed
  Who owes the debt? Check one.
                                                      Nature of lien. Check all that apply.
      Debtor 1 only
                                                          An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit

      Check if this claim relates to a
                                                          Other (including a right to offset) ____________________
       community debt

                         05/23/0201
  Date debt was incurred ____________                                                  5 ___
                                                      Last 4 digits of account number ___  , ___
                                                                                              6 ___
                                                                                                 8

2.4 ______________________________________
     Wells Fargo Dealer Services                      Describe the property that secures the claim:                         11,500.00 $________________ $____________
                                                                                                                      $_________________
    Creditor’s Name
     PO Box 1697
    ______________________________________            auto (paid/closed)
    Number            Street

    ______________________________________            As of the date you file, the claim is: Check all that apply.
     Winterville           NC 28590 
    ______________________________________                 Contingent
    City                   State ZIP Code                 Unliquidated
                                                          Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                      
                                                      ✔    Other (including a right to offset) ____________________
      Check if this claim relates to a
       community debt
                         05/10/0201
  Date debt was incurred ____________                                                  9 ___
                                                      Last 4 digits of account number ___  , ___
                                                                                              2 ___
                                                                                                 5

            Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
            If this is the last page of your form, add the dollar value totals from all pages.                             358,400.00
            Write that number here:                                                                                   $_________________

 Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page ___ of ___
           Case 18-22422-MBK                   Doc 15         Filed 07/20/18 Entered 07/20/18 06:15:17                              Desc Main
             Henry                 Robert
                                                             Document
                                                                  Melzi
                                                                          Page 13 of 29        18-22422
Debtor 1     _______________________________________________________                            Case number (if known)_____________________________________
              First Name     Middle Name         Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                                                                                2.3
                                                                                           On which line in Part 1 did you enter the creditor? _____
       SCBT
      _____________________________________________________________________
      Name                                                                                                                  3 ___
                                                                                           Last 4 digits of account number ___ 3 ___ ___
       PO Box 1287
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
       Orangeburg                                    SC
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                                                  3 ___
                                                                                           Last 4 digits of account number ___ 2 ___ ___
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
            Print                          Save As...               Add Attachment                                                           Reset
Official Form 106D                          Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                              page ___ of ___
           Case 18-22422-MBK                      Doc 15      Filed 07/20/18 Entered 07/20/18 06:15:17                                Desc Main
                                                             Document     Page 14 of 29
 Fill in this information to identify your case:

 Debtor               Henry                   Robert                Melzi
                      __________________________________________________________________
                       First Name             Middle Name               Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name               Last Name


                                         District of New
 United States Bankruptcy Court for the: __________        Jersey
                                                      District of ________

 Case number            18-22422
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
            Case 18-22422-MBK                 Doc 15          Filed 07/20/18 Entered 07/20/18 06:15:17                    Desc Main
              Henry                  Robert
                                                             Document
                                                                 Melzi
                                                                          Page 15 of 29       18-22422
 Debtor 1      _______________________________________________________                  Case number (if known)_____________________________________
               First Name   Middle Name          Last Name




              Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                   What the contract or lease is for

    2
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code

            Print                         Save As...              Add Attachment                                                  Reset
Official Form 106G                           Schedule G: Executory Contracts and Unexpired Leases                                  page ___ of ___
           Case 18-22422-MBK                            Doc 15             Filed 07/20/18 Entered 07/20/18 06:15:17                   Desc Main
                                                                          Document     Page 16 of 29
 Fill in this information to identify your case:

 Debtor 1          Henry                  Robert                 Melzi
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                         District of New
 United States Bankruptcy Court for the: __________            of ________
                                                           Jersey
                                                      District

 Case number         18-22422
                     ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      ✔
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1      Linda Shampine
         ________________________________________________________________________________                 ✔ Schedule D, line ______
                                                                                                          
         Name
         23 Sterling Place
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         Vincentown                               NJ                    08088
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                          page 1 of ___
            Case 18-22422-MBK                      Doc 15           Filed 07/20/18 Entered 07/20/18 06:15:17 Desc Main
 Debtor 1        Henry                  Robert          Document
                                                               Melzi
                  _______________________________________________________
                                                                                Page 17 ofCase
                                                                                           29number (if known)_____________________________________
                                                                                                               18-22422
                  First Name     Middle Name         Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:
 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                       Schedule D, line ______
                                                                                                      Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                         Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code


               Print                           Save As...                Add Attachment                                                Reset
Official Form 106H                                                  Schedule H: Your Codebtors                                         page ___ of ___
           Case 18-22422-MBK                    Doc 15      Filed 07/20/18 Entered 07/20/18 06:15:17                               Desc Main
                                                           Document     Page 18 of 29
 Fill in this information to identify your case:


 Debtor 1           Henry                  Robert                 Melzi
                    ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


                                         District of New
 United States Bankruptcy Court for the: __________      Jersey
                                                       District of ___________

 Case number          18-22422
                     ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
Official Form 106I                                                                                      ________________
                                                                                                        MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                           Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status               Employed                                        Employed
    employers.                                                          
                                                                        ✔ Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                    Retired
                                                                       __________________________________         Retired
                                                                                                                  __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name              __________________________________           __________________________________


                                         Employer’s address           _______________________________________    ________________________________________
                                                                       Number Street                              Number    Street

                                                                      _______________________________________    ________________________________________

                                                                      _______________________________________    ________________________________________

                                                                      _______________________________________    ________________________________________
                                                                       City            State  ZIP Code             City                State ZIP Code

                                         How long employed there?           _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.
                                                                                               $___________              $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________      +      $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.    $__________               $____________




Official Form 106I                                                Schedule I: Your Income                                                     page 1
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Debtor 1         Henry                  Robert                 Melzi
                  _______________________________________________________                                                                          18-22422
                                                                                                                            Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here...............................................................................................  4.     $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                              5d.     $____________            $_____________
     5e. Insurance                                                                                                 5e.     $____________            $_____________
     5f. Domestic support obligations                                                                              5f.     $____________            $_____________

     5g. Union dues                                                                                                5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                             5h.    + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.     $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________            $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                           $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.     $____________            $_____________
     8e. Social Security                                                                                           8e.         1,680.00
                                                                                                                           $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________            $_____________

     8g. Pension or retirement income                                                                              8g.         1,040.97
                                                                                                                           $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.         2,721.97
                                                                                                                           $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                               2,721.97
                                                                                                                           $___________     +           2,721.97
                                                                                                                                                    $_____________     =        2,721.97
                                                                                                                                                                           $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.            2,721.97
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


Official Form 106I                                                                  Schedule I: Your Income                                                                  page 2
           Print                                  Save As...                           Add Attachment                                                                  Reset
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   Fill in this information to identify your case:

   Debtor 1          Henry                  Robert                 Melzi
                     __________________________________________________________________
                       First Name              Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter 13
                                           __________
   United States Bankruptcy Court for the: District of NewDistrict
                                                           Jersey  of __________                                    expenses as of the following date:
                                                                                                                    ________________
   Case number         18-22422
                       ___________________________________________                                                  MM / DD / YYYY
    (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ✔
        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                  ✔ No
                                                                                            Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                  Yes. Fill out this information for            Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’
                                                                                                                                                        No
                                                                                             _________________________                ________
    names.                                                                                                                                              Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

 3. Do your expenses include                 ✔
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                     1,645.00
                                                                                                                                        $_____________________
      any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                  4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                                       4b.                     50.00
                                                                                                                                        $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                      4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                                        4d.     $_____________________

Official Form 106J                                                Schedule J: Your Expenses                                                                page 1
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                 _______________________________________________________                                          18-22422
                                                                                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                   150.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                   100.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                    50.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________

 7. Food and housekeeping supplies                                                                            7.                    200.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                     45.00
                                                                                                                     $_____________________
10. Personal care products and services                                                                       10.                    85.00
                                                                                                                     $_____________________
11. Medical and dental expenses                                                                               11.                    85.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    100.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    65.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.    $_____________________

15. Insurance.                                                                                                                                      1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.                   32.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                  170.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                  100.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.    $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.
                                                                                                                     $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                          19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.                   55.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.                   85.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.                   35.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.                   20.00
                                                                                                                     $_____________________



Official Form 106J                                             Schedule J: Your Expenses                                                   page 2
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 Debtor 1        Henry                 Robert                 Melzi
                 _______________________________________________________                                               18-22422
                                                                                                Case number (if known)_____________________________________
                 First Name    Middle Name         Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                  3,072.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                  3,072.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                       2,721.91
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 3,072.00
                                                                                                                         – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                        -350.09
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




Official Form 106J                                             Schedule J: Your Expenses                                                        page 3

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